               Case 1:20-cr-00650-NRB Document 1 Filed 12/01/20 Page 1 of 2




       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
        - - - - - - - - - - - - - - - -          X

       UNITED STATES OF AMERICA                        INDICTMENT

                  -   V .   -                          20 Cr .

       GREGORY FERRER ,
....
                            Defendant .


                                                 X

                                          COUNT ONE

                                     (Felon in Possession)

            The Grand Jury charges :

            On or about October 28 , 2020 , in the Southern District of New

       York and elsewhere , GREGORY FERRER , the defendant , knowing he had

       previously been          convicted in a   court   of a    crime punishable by

       imprisonment for a term exceeding one year , knowingly did possess

       firearms , to wit , a black EEA revolver and a pink Cobra handgun ,

       and the firearms were in and affecting commerce .

         (Title 18 , United States Code , Sections 922 (g) (1) , 924 (a) (2) ,
                                     and 2 . )




                                                     Acting United States Attor n ey
.   '   .   Case 1:20-cr-00650-NRB Document 1 Filed 12/01/20 Page 2 of 2




                    Form No . USA- 33s - 274          (E d . 9- 25 - 58)




                                         DISTRICT COURT
                         UNITED STATES       OF NEW YORK
                         SOUTHE RN DISTRICT


                             UNITED STATES OF AMERICA

                                               v.

                                    GREGORY FERRER,

                                                               Defendant.


                                         INDICTMENT

                                            20 Cr .

                  (18   u. s .c .   §§       2 . )(l) , 9 2 4 (a) ( 2 ) , and
                                         922(g)


                                       STRAUSS _ _-----=-:--=----
                                AUDREY States Attorney
                           --u-=-nited
                         Acting




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